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                             UNITED STATES DISTRICT COURT
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             CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
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                                ) Case No. 8:17-cv-00661-DOC-DFM
     RODRICK YBANEZ, an individual,
10                              )
11              Plaintiff,      ) ORDER DISMISSING ACTION
                                ) WITH PREJUDICE
12   v.                         )
13                              )
     DEVILLE ASSET MANAGEMENT, )
14
     LTD; and DOES 1 through 10 )
15   inclusive,                 )
16
                                )
                Defendants.     )
17                              )
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19
20        Pursuant to the stipulation this court hereby dismisses this action with prejudice. Each
21   party to bear its own fees and costs. IT IS SO ORDERED
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23
24
     DATE: May 10, 2018                   BY: _________________________________
25
                                               DAVID O. CARTER
26                                             UNITED STATES DISTRICT JUDGE
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                                                Page - 1
                                 ORDER DISMISSING ACTION WITH PREJUDICE
